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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 7

START MAN FURNITURE, LLC, et al. (f/k/a                             Case No. 20-10553 (CSS)
Art Van Furniture, LLC),1
                                                                    Jointly Administered
                                        Debtors.
                                                                    Re: Docket Nos. 1627, 1628 and 1629

                                                             Objection Deadline: December 14, 2023 at 12:00 p.m. (ET)
                                                                   Hearing Date: December 19, 2023 at 3:00 p.m. (ET)

NOTICE OF HEARING REGARDING TRUSTEE'S MOTION FOR AUTHORIZATION
   TO EXECUTE FAA TERMINATIONS AND DISCLAIMERS PURSUANT TO
        11 U.S.C. §§ 105(A) AND 363(B) AND BANKRUPTCY RULE 9019

                    PLEASE TAKE NOTICE that on December 6, 2023, Alfred T. Giuliano, the

chapter 7 trustee (the “Trustee”) of the above-captioned debtors (collectively, the “Debtors”),

filed the Trustee's Motion for Authorization to Execute FAA Terminations and Disclaimers

Pursuant to 11 U.S.C. §§ 105(a) and 363(b) and Bankruptcy Rule 9019 [Docket No. 1627] (the

“Motion”) and Motion to Shorten Notice Period and Schedule Hearing with Respect to the

Trustee's Motion for Authorization to Execute FAA Terminations and Disclaimers Pursuant to

11 U.S.C. §§ 105(a) and 363(b) and Bankruptcy Rule 9019 [Docket No. 1628] (the “Motion to

Shorten”) with the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the

Motion and Motion to Shorten were previously served upon you.




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Start Man
Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding Company, Inc.) (0291);
SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I, LLC) (2537); StartVF Holdings II,
LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent, LLC) (3451); Levin Parent, LLC (8052); Start
Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada, LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure
Sleep Franchising, LLC) (8968); SVF Franchising, LLC (f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam
Levin, Inc. (5198); and Comfort Mattress LLC (4463).
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                   PLEASE TAKE FURTHER NOTICE that on December 7, 2023, the

Bankruptcy Court entered the Order Shortening Notice Period and Scheduling Hearing with

Respect to the Trustee’s Motion for Authorization to Execute FAA Terminations and Disclaimers

Pursuant to 11 U.S.C. §§ 105(a) and 363(b) and Bankruptcy Rule 9019 [Docket No. 1629] (the

“Order Shortening Notice”) on the Motion to Shorten. A copy of the Order Shortening Notice is

attached hereto as Exhibit A.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of an order with respect to the relief sought in the Motion must be made at the hearing on

December 14, 2023 at 12:00 p.m. (Eastern time).

                   PLEASE TAKE FURTHER NOTICE that if you choose to file a written

response or objection prior to the hearing, you must at the same time serve a copy of the

response or objection upon: (i) counsel to the Trustee, Pachulski Stang Ziehl & Jones LLP, 919

North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19899-8705 (Courier 19801),

Attn: Bradford J. Sandler (bsandler@pszjlaw.com), Colin R. Robinson

(crobinson@pszjlaw.com), and Peter J. Keane (pkeane@pszjlaw.com); and (ii) the Office of the

United States Trustee, J. Caleb Boggs Federal Building, 844 N. King Street, Suite 2207, Lock

Box 35, Wilmington, DE 19801, Attn: Benjamin A. Hackman

(benjamin.a.hackman@usdoj.gov).

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON DECEMBER 19, 2023 AT

3:00 P.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES

BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET,

THIRD FLOOR, COURTROOM NO.7, WILMINGTON, DELAWARE 19801.

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Dated: December 7, 2023               PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ Peter J. Keane
                                      Bradford J. Sandler (DE Bar No. 4142)
                                      Colin R. Robinson (DE Bar No. 5524)
                                      Peter J. Keane (DE Bar No. 5503)
                                      919 N. Market Street, 17th Floor
                                      P.O. Box 8705
                                      Wilmington, DE 19899 (Courier 19801)
                                      Telephone: (302) 652-4100
                                      Facsimile: (302) 652-4400
                                      Email:       bsandler@pszjlaw.com
                                                   crobinson@pszjlaw.com
                                                   pkeane@pszjlaw.com


                                      Counsel to Alfred T. Giuliano, Chapter 7 Trustee




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